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                                CERTIFICATE OF SERVICE

       I, Theodore J. Tacconelli, hereby certify that on this 23rd day of November, 2005, I
caused one copy of the Certification of No Objection Regarding Docket No. 10969 to be served
upon the following parties in the manner indicated:

       SEE ATTACHED SERVICE LIST

       Upon penalty of perjury I declare that the foregoing is true and correct.


                                                      /s/ Theodore J. Tacconelli
                                                     Theodore J. Tacconelli (No. 2678)
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